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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-80056-CR-ALTMAN


  UNITED STATES OF AMERICA

  vs.

  YUJING ZHANG,

              Defendant.
  _____________________________/


                               GOVERNMENT’S WITNESS LIST

         United States of America, by the undersigned Assistant United States Attorney,

  hereby gives notice of the Government’s intent to call the following witnesses at trial:

        1.     United States Secret Service Special Agent Krystle Kerr

        2.     Mr. Willy Isidore

        3.     United States Secret Service Special Agent Paul Patenaude, Jr.

        4.     United States Secret Service Special Agent Brennan Fortune

        5.     Ms. Ariela Grumaz

        6.     United States Secret Service Special Agent Samuel Ivanovich

        7.     United States Secret Service Special Agent Craig Williams

        8.     Federal Bureau of Investigation Forensic Examiner Ricardo Soto




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        9.    Federal Bureau of Investigation Linguist Catherine K.S. Chang


                                                   Respectfully submitted,

                                                   ARIANA FAJARDO ORSHAN
                                                   UNITED STATES ATTORNEY

                                                   s/Rolando Garcia
                                                   ROLANDO GARCIA
                                                   Assistant United States Attorney
                                                   Florida Bar 763012
                                                   500 S. Australian Ave., Suite 400
                                                   West Palm Beach, Florida 33401
                                                   Rolando.Garcia@usdoj.gov
                                                   Tel: (561) 820-8711


                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 6, 2019, the undersigned electronically filed

  the foregoing document with the Clerk of the Court using CM/ECF.


                                                s/ Rolando Garcia
                                            ROLANDO GARCIA
                                                Assistant United States Attorney




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